              Case
               Case1:18-cv-01853-EGS
                    1:19-cv-02369-KBJ Document
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                                             District of Columbia


 Make the Road New York, La Unión Del Pueblo
              Entero, WeCount!




                                                                           19-cv-2369-KBJ

Kevin McAleenan, Matthew T. Albence, Kenneth T.
      Cuccinelli, Mark Morgan,William Barr




                                     SUMMONS IN A CIVIL ACTION

                           Jessie K. Liu
                           U.S. Attorney for the District of Columbia
                           United States Attorney's Office
                           555 4th Street, NW
                           Washington, DC 20001




                           Celso Perez
                           American Civil Liberties Union
                           Foundation, Immigrants’ Rights Project
                           125 Broad Street, 18th Floor
                           New York, NY 10004
                           (212) 549-




     08/12/2019                                                  /s/Jackie Francis
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           Case 1:18-cv-01853-EGS Document 127 Filed 09/20/19 Page 3 of 4


From:            Brandon Snesko
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Reference Numbers:

Clients Internal reference number:
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Case Information:

Court: In The United States District Court for the District of Columbia
Court County:
Plaintiff: Make the Road New York, La Union Del Pueblo Entero, WeCount!
Defendant: Kevin McAleenan, et al.
Case Number: 19-cv-2369-KBJ
Documents Served: Summons in Civil Action, Complaint for Declaratory and Injunctive
Relief, Plaintiff's Motion for a Preliminary Injunction, Plaintiff's Memorandum in
Support of Motion for Preliminary Junction

Servee: Jessie K. Liu, U.S. Attorney for the District of Columbia
Manner at which service was completed: Government Agency
Person served legal documents: Reginald Rowan
Title: Legal Assistant & Authorized Agent
Date Completed: 08/13/2019
Service Time: 10:13

Description of person served with legal documents:
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Hair: Black
Age: 40
Skin: African-American
Height: 5ft9in-6ft0in
Weight: Over 200 lbs

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20530

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